                   Case 1:20-cr-00093-JLT-SKO Document 78 Filed 08/04/20 Page 1 of 3
AO 199A (Rev. 12/11-EDCA [Fresno]) Order Setting Conditions of Release                                           Page 1 of        3      Pages



                                     UNITED STATES DISTRICT COURT
                                                                         for the
                                                                                                                      FILED
                                                Eastern District of Califomia                                        Aug 04, 2020
                                                                                                                  CLERK, U.S. DISTRICT COURT
                                                                                                                EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,
                                                                         )
                              v.                                         )
                                                                         )              Case No.       1 :20-cr-00093-NONE-SKO
JOSE BALDEMAR AVALOS CASTRO,                                             )


                                      ORDER SETTING CONDITIONS OF RELEASE

IT IS ORDERED that the defendant's release is subject to these conditions:

(1) The defendant must not violate federal, state, or local law while on release.

(2) The defendant must cooperate in the collection ofa DNA sample ifit is authorized by 42 U.S.C. § 14135a.

(3) The defendant must advise the court or the pretrial services office or supervising officer in writing before making
    any change ofresidence or telephone number.

(4) The defendant must appear in court as required and, ifconvicted, must surrender as directed to serve a sentence that
    the court may impose.

      The defendant must appear at:            U.S. DISTRICT COURT 2500 Tulare Street Fresno California
                                                                                               Place
      U.S. MAGISTRATE JUDGE SHIELA K. OBERTO in Courtroom 7 (unless another courtroom is designated)

      on                                               AUGUST 17 2020 at 1:00 PM
                                                                             Date and Time

      Ifblank, defendant will be notified ofnext appearance.

(5)   The defendant must sign an Appearance and Compliance Bond, ifordered.




TO U.S. MARSHAL: DELAY RELEASE from Fresno County Jail until 9:00 AM on the next business
day following the posting of the bond.




(Copies to:      Defendant (through PTS)               PRETRIAL SERVICES                     US ATTORNEY      US MARSHAL)
Case 1:20-cr-00093-JLT-SKO Document 78 Filed 08/04/20 Page 2 of 3
     Case 1:20-cr-00093-JLT-SKO Document 78 Filed 08/04/20 Page 3 of 3




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    8/4/2020
